Case 2:08-cr-20520-DML-MKM ECF No. 391, PageID.1522 Filed 09/09/11 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                               Case Number 08-20520
 v.                                                            Honorable David M. Lawson

 DUANE SULLIVAN,

                        Defendant.

 ______________________________________/

             ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

        On February 25, 2010, defendant Duane Sullivan pleaded guilty to possessing five grams or

 more of crack cocaine with intent to distribute it in violation of 21 U.S.C. § 841(b)(1)(B), and being

 a felon in possession of a firearm in violation of 18 U.S.C. § 924(a)(2). The drug charge normally

 would have carried a prison term of five to 40 years, but because the defendant had a prior felony

 drug conviction, the enhanced sentence exposure was at least 10 years and up to life in prison. See

 21 U.S.C. §§ 841(b)(1)(B) (2010), 851. On June 7, 2010, the Court sentenced Mr. Sullivan to 120

 months on the drug count and 60 months on the firearm conviction, with the sentences to be served

 concurrently.

        At the sentence hearing, the Court observed that Mr. Sullivan’s net offense level was 23 and

 his criminal history category was IV. That would have yielded a sentencing guideline range of 70

 to 87 months. However, because the statutory mandatory minimum sentence was 10 years (that is,

 120 months), the guideline range became 120 months. See USSG § 5G1.1(b). Therefore, the

 defendant’s sentence was not based on a sentencing range established and subsequently lowered by
Case 2:08-cr-20520-DML-MKM ECF No. 391, PageID.1523 Filed 09/09/11 Page 2 of 3




 the Sentencing Commission. Instead, the sentence was based on the statutory minimum sentence

 ordained by Congress.

        Now before the Court is Mr. Sullivan’s motion to reduce his sentence under 18 U.S.C. §

 3582(c). The defendant argues that he is entitled to have his sentence reduced because the United

 States Sentencing Commission, following the enactment of the Fair Sentencing Act of 2010, issued

 new and more lenient sentencing guidelines applicable to offenses involving crack cocaine. Those

 guidelines will be made retroactive by the Sentencing Commission as of November 1, 2011.

        Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

 only under certain conditions:

        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable
        policy statements issued by the Sentencing Commission.

 (Emphasis added). Mr. Sullivan alleges that because the Sentencing Commission has reduced the

 crack cocaine guidelines and made them retroactive, and his crime involved the distribution of crack

 cocaine, he is entitled to a sentence reduction.

        The United State Court of Appeals for the Sixth Circuit has held that a defendant subjected

 to a statutory mandatory minimum sentence is not eligible for a reduction under section 3582(c)(2)

 because the guideline amendment does not lower the defendant’s applicable guideline range.

 United States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009). Subsequently, that court held that the

 Sentencing Commission’s amendment to a sentencing guideline range that does not affect a statutory




                                                    -2-
Case 2:08-cr-20520-DML-MKM ECF No. 391, PageID.1524 Filed 09/09/11 Page 3 of 3




 mandatory minimum sentence will not provide the basis for a subsequent reduction of a sentence

 under section 3582(c)(2). United States v. McPherson, 629 F.3d 609, 611 (6th Cir. 2011).

        The Court believes that Mr. Sullivan’s motion is governed by the precedent set forth in

 Johnson and McPhearson. Because Mr. Sullivan’s sentence is based on the statutory mandatory

 minimum and not a sentencing guideline range that was later lowered by the Sentencing

 Commission, he is not eligible for relief.

        Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence under

 18 U.S.C. § 3582(c) [dkt. #390] is DENIED.

                                                        s/Davd M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

 Dated: September 9, 2011




                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on September 9, 2011.

                                                            s/Deborah R. Tofil
                                                            DEBORAH R. TOFIL




                                                            -3-
